






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00353-CR







Thomas Raymond West, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 51,870, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING







Appellant Thomas Raymond West, Jr., pleaded guilty to aggravated robbery.  See
Tex. Pen. Code Ann. § 29.03 (West 1994).  The district court adjudged him guilty and assessed
punishment at imprisonment for fifteen years, as called for in a plea bargain agreement.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant was advised
of his right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

In its response to counsel's Anders brief, the State calls our attention to appellant's
general notice of appeal.  When a defendant pleads guilty to a felony and the punishment assessed
does not exceed that recommended by the prosecutor and agreed to by the defendant, the notice of
appeal must state that the appeal is for a jurisdictional defect, or that the substance of the appeal was
raised by written motion and ruled on before trial, or that the trial court granted permission to appeal. 
Tex. R. App. P. 25.2(b)(3).  Appellant's notice of appeal does not comply with this rule and fails to
confer jurisdiction on this Court.  Whitt v. State, 45 S.W.3d 274, 275 (Tex. App.--Austin 2001, no
pet.); see also Cooper v. State, 45 S.W.3d 77, 80-81 (Tex. Crim. App. 2001).

The appeal is dismissed for want of jurisdiction.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Kidd, Yeakel and Patterson 

Dismissed for Want of Jurisdiction

Filed:   October 11, 2001

Do Not Publish


